        Case 2:08-md-02002-GEKP Document 823-2 Filed 05/29/13 Page 1 of 8



                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE: PROCESSED EGG PRODUCTS
ANTITRUST LITIGATION
                                                   MDL Docket No. 2002
                                                   08-md-02002
This document relates to:

ALL DIRECT PURCHASER ACTIONS




 MEMORANDUM IN SUPPORT OF DIRECT PURCHASER PLAINTIFFS’ MOTION
         TO PAY COSTS OF SETTLEMENT ADMINISTRATION


        Pursuant to the Settlement Agreement between the Direct Purchaser Plaintiffs

(“Plaintiffs”) and Defendants Moark, LLC, Norco Ranch, Inc., and Land O’Lakes, Inc.

(collectively, “Moark”) (“Moark Settlement Agreement”) (Doc. Nos. 465-3, 699-700), and this

Court’s Orders of August 16, 2012 (Doc. No. 727) and November 9, 2012 (Doc. No. 761),

Plaintiffs hereby request that the Court approve a distribution of $234,823.00 from the

Settlement Fund to the Court-approved claims administrator, Garden City Group (“GCG”), for

fees and expenses incurred in connection with the administration of the Moark Settlement

Agreement.

                      GCC’S WORK AS CLAIMS ADMINSTRATOR

        This Court approved GCG as claims administrator for this litigation on July 15, 2010, in

connection with its preliminary approval of the Moark Settlement Agreement. (Doc. No. 387-

388.)   The Moark Settlement Agreement provides, among other things, that Moark would

contribute $25 million to a Settlement Fund for distribution to members of a proposed Settlement
       Case 2:08-md-02002-GEKP Document 823-2 Filed 05/29/13 Page 2 of 8



Class, part of which could be used to pay Court-approved attorneys’ fees, costs, and expenses.

(Doc. No. 465-3.) Pursuant to its appointment as administrator of the Moark Settlement, GCG

has performed the tasks outlined below.

  I.   Work Performed by GCG Prior to October 15, 2010, in Conjunction with the
       Court’s Order that GCG Disseminate Notice of the Moark Settlement Agreement

       After the Court preliminarily approved the Moark Settlement Agreement, GCG was

ordered to disseminate notice to the members of the proposed Settlement Class. (Doc. No. 388.)

In anticipation of disseminating notice, GCG collected, between April and August 2010,

electronic data files from seventeen named egg producer Defendants containing the names and

addresses of potential members of the Settlement Class. Work performed by GCG prior to

mailing notice included loading addresses into a database created for this litigation, updating

addresses, and identifying and excluding duplicate address records and address records for the

Defendants. (See January 25, 2011 Declaration of Jennifer Keogh (“First Keogh Dec.”) ¶¶ 7-8;

Doc. No. 465-7.)

       Upon entry of the Court’s Order that GCG disseminate notice, GCG, in August and

September 2010, served notice upon the potential class members through direct mailings to more

than 13,000 direct purchasers of shell eggs and egg products, publication notice in the Wall

Street Journal and industry publications, press releases, and maintenance of a informational

website and toll-free hotline. (See Mem. in Supp. of Order Re: Final Approval of Moark

Settlement Agreement (“Final Approval Mem.”), Doc. No. 699 at 10-15 (detailing steps taken by

GCG to disseminate notice); GCG Invoice Number 09754, attached hereto as Exh. B). GCG

also was tasked with collecting claim forms and opt-out requests from members of the

Settlement Class. (See Claim Form, Doc. No. 414-3.)




                                              2
          Case 2:08-md-02002-GEKP Document 823-2 Filed 05/29/13 Page 3 of 8



          Prior to October 15, 2010, GCG also handled numerous administrative tasks relating to

notice dissemination, including processing undeliverable mail, document storage, and the initial

handling and processing of exclusion requests. (See May 24, 2013 Declaration of Jennifer M.

Keough (“Second Keough Dec.”) ¶ 21, attached hereto as Exhibit A; Exh. B.)

          The Moark Agreement provided that Settlement Funds would be used to cover the

expenses incurred in disseminating notice of the settlement. (See Moark Settlement Agreement

¶ 45; Doc. No. 465-3 (“Class Counsel is authorized up to a maximum of $350,000.00 of the

Settlement Amount towards the costs of notice of the Settlement under this Agreement.”).

Ultimately, the actual cost of disseminating notice of the Moark Settlement was less than the

authorized amount: prior to October 15, 2010, GCG incurred fees and costs in conjunction with

providing notice of the Moark Settlement Agreement, as described herein, in the amount of

$173,047.90. (See Exh. B; Final Aproval Mem. at 11.)1 GCG has been reimbursed in full for

these notice-related costs. (Second Keogh Dec. ¶ 20.)

          To date, only these initial notice costs in the amount of $173,047 have been paid to GCG

from the Settlement Fund. GCG has not yet been reimbursed for any of its additional work in

administering the settlement since initial notice was issued. The additional work performed by

GCG since October 15, 2010, is set forth below.

    II.   Settlement Administration Work Performed by GCG Between October 15, 2010,
          and November 2012

          GCG has performed extensive settlement administration work since initial class notice of

settlement agreement was issued, including work to validate each claim.          Members of the



1
   To date, GCG also has incurred fees and costs in the amount of $202,171.87 in connection
with its administration of the Sparboe Settlement Agreement, which also was approved by the
Court on July 16, 2012. (Docs. No. 697-698.) Outstanding fees owed to GCG by Sparboe are
not at issue in this motion but are being pursued from Sparboe separately.
                                                 3
      Case 2:08-md-02002-GEKP Document 823-2 Filed 05/29/13 Page 4 of 8



Settlement Class who wished to be excluded from the Moark Settlement Agreement were

required to submit exclusion requests to GCG on or before November 16, 2010. (First Koegh

Dec. ¶ 17.) Members of the Settlement Class who wished to file a claim were required to submit

a Claim Form to GCG no later than January 7, 2011. (First Koegh Dec. ¶ 16.) Between October

15, 2010, and July 31, 2011, GCG performed 21.6 hours of work related to claim validation,

including the handling and processing of exclusions. (GCG Invoice Number 14322, attached

hereto as Exh. C; see Second Koegh Dec. ¶ 21.) Since July 31, 2011, GCG has performed an

additional 59.6 hours of work related to claim validation, including handling and processing of

exclusions, processing of non-conforming claims, and preparation of deficiency responses and

rejection letters. (See GCG Invoice Number 11160, attached hereto as Exh. D; see Second Keogh

Dec. ¶ 22.) In addition, GCG reviewed each claim to ensure, with the input of Interim Co-Lead

Counsel, that the claimed purchases were valid claims from egg producers.

       In addition to claim validation work, other services performed by GCG between October

15, 2010, and November 2012 included: processing of undeliverable mail, re-mailing of notice

documents, maintenance of class member database, document storage, written and verbal

communications with the class members, research regarding the eligibility of certain claims,

regular maintenance of the class database, website, and toll-free hotline, tax reporting, and

reporting to the Court and Parties. (See Second Keough Dec. ¶¶ 21-22; Exhs. C-D.)

       GCG also performed work in connection with a second round of notice to the members of

the Settlement Class. The Court granted final approval of the Moark Settlement Agreement on

July 16, 2012. (Doc. Nos. 699-700.) Following final approval of the Settlement Agreements,

the Court ordered GCG to disseminate additional notice to the Settlement Class of Plaintiffs’

Motion for an Award of Attorneys’ Fees and for Reimbursement of Expenses (the “Fee



                                              4
       Case 2:08-md-02002-GEKP Document 823-2 Filed 05/29/13 Page 5 of 8



Petition”). (Doc No. 727.) The notice explained that the Settlement Fund would be reduced by

Interim Co-lead Counsel’s attorneys’ fees, “as well as litigation costs and expenses,” prior to

distribution. (Doc. No. 727.)

III.   Work Performed since November 9, 2012, in Conjunction with the Court’s
       Allocation Order

       At the Court’s direction, Plaintiffs submitted to the Court, with input from GCG, a

proposed plan for allocation of the Moark Settlement Fund, which the Court approved on

November 9, 2012.      (Docket No. 761.)    The Allocation Order directed GCC to compile

purchase-price information from the proof-of-purchase claim documents submitted by

Authorized Claimants, to calculate distribution amounts for each Authorized Claimant based on

an approximate percentage of purchase price, to submit an accounting of proposed payments to

Interim Co-lead Counsel and to Moark for approval, and, finally, to send notice to each

Authorized Claimant of the estimated distribution amounts to the members of the Settlement

Class. (Docket No. 761.)

       At the Court’s direction, GCC worked to allocate the Net Settlement Fund between the

Settlement SubClasses. (Docket No. 761.) GCC further calculated the appropriate estimated

distribution amount that each Authorized Claimant would receive based on the Court-approved

formula. (Second Keough Dec. ¶ 7.)

       Within 20 days of the issuance of the Allocation Order, GCG submitted to Interim Co-

lead Counsel an accounting of the payments GCG intends to make to each Authorized Claimant.

(Keough Dec. ¶ 15.) GCC adjusted the approximate percentage where necessary to ensure that

the Net Settlement Fund would not be exhausted before each Authorized Claimant was paid.

(Keough Dec. ¶ 8.) When the percentage payment to an Authorized Claimant was under $25.00,




                                              5
      Case 2:08-md-02002-GEKP Document 823-2 Filed 05/29/13 Page 6 of 8



GCG’s accounting reflected the $25.00 base payment approved by the Court. (Second Keough

Dec. ¶ 9.)

       Following Interim Co-lead Counsel’s review of the payment amounts proposed by GCG,

in January 2013, GCG notified each Authorized Claimant of the estimated amount of its claim.

(Keough Dec. ¶ 16.) The Authorized Claimants had 30 days to object to the estimated payment.

Twelve letters were returned undeliverable with change of address information, which GCG re-

mailed with a new 30-day deadline. (Keough Dec. ¶ 18.)

       GCG now is prepared to distribute the Net Settlement Funds to the Authorized Claimants.

(Keough Dec. ¶ 19.) GCG will be mailing checks to 693 Authorized Claimants in amounts

ranging from the $25.00 base payment to approximately $1.3 million. (Keough Dec. ¶ 19.)

                REQUEST FOR AUTHORIZATION OF PAYMENT TO GCC

       The Moark Settlement Notice that was disseminated to members of the Settlement Class

explained that the Settlement Fund could be “reduced by court-ordered attorneys’ fees and

reimbursement of litigation expenses, including administration of the Settlement, as approved by

the Court.” (Doc. No. 493-3.) As described herein, GCC has handled all aspects of settlement

administration for the Moark Settlement Agreement.

       Plaintiffs respectfully request that the Court authorize payment to GCC in the amount of

$234,823.00 in fees and costs associated with settlement administration, which includes

$177,058.71 in costs and fees already incurred and $57,764.29 in anticipated costs for

completion of the project. Specifically:

            Between October 16, 2010, and July 31, 2011, GCG incurred costs and expenses for

             the work described herein in the amount of $74,001.47. (Exh. C.)




                                                6
      Case 2:08-md-02002-GEKP Document 823-2 Filed 05/29/13 Page 7 of 8



          Between August 1, 2011, and March 15, 2013, GCG incurred costs and expenses for

           the work described herein in the amount of $103,057.24. (Exh. D; Second Keogh

           Dec. ¶ 22.)

          GCG estimates that fees and costs through project completion will total $57,764.29.

           (Exh. D; Second Keogh Dec. ¶ 22.) This estimate will include fees and costs for

           coordinating and handling distribution of settlement checks to class members, post-

           distribution work, communications with class members, tax reporting, project

           management, quality assurance, and systems support. (Second Keogh Dec. ¶ 22.)

       All of these costs and fees have been or will be incurred by GCG in the performance of

its administration duties regarding the Moark Settlement Agreement.

                                       CONCLUSION

       Accordingly, Plaintiffs move for an Order that approves payment of $234,823.00

out of the Moark Settlement Fund to GCG for its fees and expenses incurred in connection with

services performed and to be performed to administer the Moark Settlement.



DATED: May 29, 2013                          Respectfully submitted,


                                             /s/    Steven A. Asher
                                             Steven A. Asher
                                             WEINSTEIN KITCHENOFF & ASHER LLC
                                             1845 Walnut Street, Suite 1100
                                             Philadelphia, PA 19103
                                             (215) 545-7200
                                             (215) 545-6536 (fax)
                                             asher@wka-law.com
                                             Interim Co-Plaintiffs and Liaison Counsel for
                                             Direct Purchaser Plaintiffs




                                              7
Case 2:08-md-02002-GEKP Document 823-2 Filed 05/29/13 Page 8 of 8




                               Michael D. Hausfeld
                               HAUSFELD LLP
                               1700 K Street NW
                               Suite 650
                               Washington, DC 20006
                               (202) 540-7200
                               (202) 540-7201 (fax)
                               mhausfeld@hausfeldllp.com
                               Interim Co-Plaintiffs for Direct Purchaser
                               Plaintiffs

                               Stanley D. Bernstein
                               BERNSTEIN LIEBHARD LLP
                               10 East 40th Street, 22nd Floor
                               New York, New York 10016
                               (212) 779-1414
                               (212) 779-3218 (fax)
                               bernstein@bernlieb.com
                               Interim Co-Plaintiffs for Direct Purchaser
                               Plaintiffs

                               Stephen D. Susman
                               SUSMAN GODFREY LLP
                               654 Madison Avenue, 5th Floor
                               New York, NY 10065-8404
                               (212) 336-8330
                               (212) 336-8340 (fax)
                               ssusman @susmangodfrey.com
                               Interim Co-Plaintiffs for Direct Purchaser
                               Plaintiffs




                                8
